Case 21-60198    Doc 23-1   Filed 08/20/21 Entered 08/20/21 14:15:13   Desc Exhibit
                               Exhibit A Page 1 of 15



                 IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                             TYLER DIVISION

IN RE:
                                          §
                                          §
JAMES M OLSON                                        CASE NO. 21-60198
                                          §
xxx-xx-1279                                             CHAPTER 7
                                          §
312 Flenniken St
                                          §
Gladewater, TX 75647-5676
                                          §
                                          §
                                          §
MARY H. OLSON
                                          §
xxx-xx-7765
                                          §
DEBTORS

                                     Exhibit A
                                                                                                                                                                                NO SMOKING IN
                                                                        19396484    0                     25719                  true    0                AR         60025877   HOUSE OR GARAGE.     test tbd4
                                                                                                                                                                                ||Tenant has been
                                                                                                                                                                                granted permission


                                                                                    088403-600162-88698   Christopher Wilson |           Java/1.8.0_231


                          Case 21-60198                             Doc 23-1                              Filed 08/20/21 Entered 08/20/21 14:15:13                                                               Desc Exhibit
                                                                                                             Exhibit A Page 2 of 15
        Real Estate Contract                                                                                                                                                                                              Copyright
                                                                                                                                                                                                                            2021
        (Residential)                                                                                                                                                                                                     Arkansas
                                                                                                                                                                                                                         REALTORS®
        Page 1 of 12                                                                                                                                                                                                     Association

        FORM SERIAL NUMBER:088403-600162-8869888
                                                   Efrain Rodriguez
        1. PARTIES: _____________________________________________________________________________
         ________________________________________________________________________________________
        (individually or collectively, the "Buyer") offers to purchase, subject to the terms and conditions set forth herein, from the
        undersigned (individually or collectively, the "Seller"), the real property described in Paragraph 2 of this Real Estate
        Contract (the "Property"):
        2. This Property is        ✖ Single family detached home with land         One-to-four attached dwelling with land
                                                            Manufactured / Mobile Home with land                                                                 Condominium / Town Home
                                                            Builder Owned older than 1 year                                                                    (See Condominium/Town Home Addendum attached)
                                                            (Seller to provide FTC Insulation Requirement Addendum)
        ADDRESS AND LEGAL DESCRIPTION:
                                               3744 HWY 367 S Searcy, Ar. 72143
        A. ADDRESS: _____________________________________________________________________________
                                    Exact     legal to be determined by the title company
        B. FULL LEGAL DESCRIPTION: ______________________________________________________________
        _________________________________________________________________________________________
        _________________________________________________________________________________________
        _________________________________________________________________________________________
        3. PURCHASE PRICE: Subject to the following conditions, Buyer shall pay the following to Seller and, if so stated
        in Paragraph 3B assume the following obligations of Seller for the Property (the "Purchase Price"):
               A. PURCHASE PURSUANT TO NEW FINANCING: Subject to Buyer's ability to obtain financing on the terms and
           conditions set forth herein and the Property appraising for not less than the Purchase Price, the Purchase Price
           shall be the exact sum of ………….………………………………….......…......................................... $ _________________

             Down payment, loan amount, interest rate and other terms of financing to be negotiated between Buyer and creditor.

             Loan type will be:
                         CONVENTIONAL.

                         VA. (Continues on Page 2 for "VA NOTICE TO BUYER")

                         FHA. (Continues on Page 2, for "FHA NOTICE TO BUYER")

                         USDA-RD.

                         OTHER FINANCING: Subject to Buyer's ability to obtain financing (other than stated above) as follows:
                         __________________________________________________________________________________________
                         __________________________________________________________________________________________
                         __________________________________________________________________________________________
                         __________________________________________________________________________________________
                         _________________________________________________________________________________________


                     B. PURCHASE PURSUANT TO LOAN ASSUMPTION (See Loan Assumption Addendum attached)

                                                                                                                   69,900.00
              ✖ C. PURCHASE PURSUANT TO CASH: Cash at Closing in the exact sum of........................ $ _________________




                                                                                                                                        Page 1 of 12
           Serial#: 088403-600162-8869888
           Prepared by: Christopher Wilson | C21 REAL ESTATE UNLIMITED | chriswilsonc21@gmail.com | 5018434473

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                          Case 21-60198                             Doc 23-1                      Filed 08/20/21 Entered 08/20/21 14:15:13   Desc Exhibit
                                                                                                     Exhibit A Page 3 of 15
         Real Estate Contract                                                                                                                         Copyright
                                                                                                                                                        2021
         (Residential)                                                                                                                                Arkansas
                                                                                                                                                     REALTORS®
         Page 2 of 12                                                                                                                                Association
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              3. PURCHASE PRICE: (continued from Page 1)

                           IF LOAN TYPE IS VA, I ACKNOWLEDGE THE FOLLOWING "VA NOTICE TO BUYER:"
                            It is expressly agreed, notwithstanding any other provisions of this Real Estate Contract,
                            Buyer shall not incur any penalty by forfeiture of Earnest Money or otherwise be obligated to
                            complete this purchase of the Property described herein, if the Real Estate Contract Purchase
                            Price or cost exceeds the reasonable value of the Property established by the Department of
                            Veterans Affairs. Buyer shall, however, have the privilege and option of consummating this
                            Real Estate Contract without regard to the amount of the reasonable value of the Property
                            established by the Department of Veterans Affairs. If Buyer elects to complete the purchase
                            at an amount in excess of the reasonable value established by the Department of Veterans
                            Affairs, Buyer shall pay such excess amount in cash from a source which Buyer agrees to
                            disclose to the Department of Veterans Affairs and which Buyer represents will not be from
                            borrowed funds. If Department of Veteran's Affairs reasonable value of the Property is less
                            than the Purchase Price, Seller may reduce the Purchase Price to an amount equal to the
                            Department of Veterans Affairs reasonable value and the parties to the sale shall close at
                            such lower Purchase Price with appropriate adjustments to Paragraph 3 above.



                           IF LOAN TYPE IS FHA, I ACKNOWLEDGE THE FOLLOWING "FHA NOTICE TO BUYER:"
                            It is expressly agreed, notwithstanding any other provisions of this Real Estate Contract, Buyer
                            shall not be obligated to complete the purchase of the Property described herein or to incur any
                            penalty by forfeiture of Earnest Money Deposits or otherwise unless Buyer has been given, in
                            accordance with HUD/FHA or VA requirements, a written statement by the Federal Housing
                            Commissioner, Department of Veterans Affairs, or a Direct Endorsement lender setting forth the
                            appraised value of the Property of not less than $_______________. Buyer shall have the
                            privilege and option of consummating this Real Estate Contract without regard to the amount of
                            the appraised valuation. The appraised valuation is arrived at to determine the maximum
                            mortgage the Department of Housing and Urban Development will insure. HUD does not
                            warrant the value nor the condition of the Property. Buyer should satisfy himself/herself that the
                            price and condition of the Property are acceptable.


                           We hereby certify the terms and conditions of this Real Estate Contract are true to the best of
                           our knowledge and belief and any other agreement entered into by any of the parties in
                           connection with this real estate transaction is part of, or attached to, this Real Estate Contract.



                     ✖     Buyer has received HUD/FHA's Form No. HUD-92564-CN,
                           "For Your Protection: Get a Home Inspection."




                                                                                                          Page 2 of 12
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                          Case 21-60198                             Doc 23-1                      Filed 08/20/21 Entered 08/20/21 14:15:13   Desc Exhibit
                                                                                                     Exhibit A Page 4 of 15
         Real Estate Contract                                                                                                                         Copyright
                                                                                                                                                        2021
         (Residential)                                                                                                                                Arkansas
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         FORM SERIAL NUMBER: 088403-600162-8869888
         4. AGENCY: (check all that apply)
                     A. LISTING FIRM AND SELLING FIRM REPRESENT SELLER: Buyer acknowledges Listing Firm and
                        Selling Firm and all licensees associated with those entities are the agents of Seller and it is Seller who
                        employed them, whom they represent, and to whom they are responsible. Buyer acknowledges that
                        before eliciting or receiving confidential information from Buyer, Selling Firm, which may be the same
                        as Listing Firm, verbally disclosed that Selling Firm represents Seller.
              ✖ B. LISTING FIRM REPRESENTS SELLER AND SELLING FIRM REPRESENTS BUYER: Buyer and
                            Seller acknowledge Listing Firm is employed by Seller and Selling Firm is employed by Buyer. All
                            licensees associated with Listing Firm are employed by, represent, and are responsible to Seller. All
                            licensees associated with Selling Firm are employed by, represent, and are responsible to Buyer.
                            Buyer acknowledges Selling Firm verbally disclosed Listing Firm represents Seller. Seller acknowledges
                            Listing Firm verbally disclosed Selling Firm represents Buyer.

                     C. LISTING FIRM AND SELLING FIRM ARE THE SAME AND REPRESENT BOTH BUYER AND
                        SELLER: Seller and Buyer hereby acknowledge and agree Listing and Selling Firm are the same and
                        all licensees associated with Listing and Selling Firm are representing both Buyer and Seller in the
                        purchase and sale of the above referenced Property and Listing/Selling Firm has been and is now the
                        agent of both Seller and Buyer with respect to this transaction. Seller and Buyer have both consented
                        to and hereby confirm their consent to agency representation of both parties. Further, Seller and Buyer
                        agree:

                            (i)       Listing/Selling Firm shall not be required to and shall not disclose to either Buyer or Seller any
                                      personal, financial or other confidential information concerning the other party without the express
                                      written consent of that party; however, Buyer and Seller agree Listing/Selling Firm shall disclose to
                                      Buyer information known to Listing/Selling Firm related to defects in the Property and such
                                      information shall not be deemed "confidential information." Confidential information shall include
                                      but not be limited to any price Seller is willing to accept that is less than the offering price or any
                                      price Buyer is willing to pay that is higher than that offered in writing.

                           (ii)       by selecting this option 4C, Buyer and Seller acknowledge when Listing/Selling Firm represents
                                      both parties, a possible conflict of interest exists, and Seller and Buyer further agree to forfeit their
                                      individual right to receive the undivided loyalty of Listing/Selling Firm.

                           (iii) to waive any claim now or hereafter arising out of any conflicts of interest from Listing/Selling Firm
                                 representing both parties. Buyer and Seller acknowledge Listing/Selling Firm verbally disclosed
                                 Listing/Selling Firm represents both parties in this transaction, and Buyer and Seller have given
                                 their written consent to this representation before entering into this Real Estate Contract.
                     D. SELLING FIRM REPRESENTS BUYER (NO LISTING FIRM): Seller acknowledges Selling Firm and all
                        licensees associated with Selling Firm are the agents of Buyer and it is Buyer who employed them, whom
                        they represent, and to whom they are responsible. Seller acknowledges that at first contact, Selling Firm
                        verbally disclosed that Selling Firm represents Buyer. Any reference to "Listing Firm" in this Real Estate
                        Contract will be considered to mean Selling Firm, both Buyer and Seller acknowledging that all real
                        estate agents (unless Seller is a licensed Real Estate Agent) involved in this Real Estate Contract only
                        represent Buyer.
                     E. NON-REPRESENTATION: See attached Non-Representation Disclosure Addendum. If item E is
                        checked it should be accompanied by a corresponding entry to Paragraph 35 B or C.

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         FORM SERIAL NUMBER: 088403-600162-8869888
         5. LOAN AND CLOSING COSTS: Unless otherwise specified, all of Buyer's closing costs, including origination fees, assumption
              fees, loan costs, prepaid items, loan discount points, closing fee, and all other financing fees and costs charged by Buyer's creditor or
              any additional fees charged by Closing Agent(s), are to be paid solely by Buyer except for costs that cannot be paid by Buyer. If Buyer
                                                                                                                            0.00
              is obtaining a VA or FHA loan, the "Government Loan Fees" shall be paid by Seller, up to the sum of $_________________               (the
              "Seller Loan Cost Limit"), which is not included in any loan or closing cost provisions listed below. Notwithstanding any provision to
              the contrary, should the Government Loan Fees exceed the Seller Loan Cost Limit, Seller shall have the option to either pay such
              excess amount or terminate this Real Estate Contract and have the Earnest Money returned to Buyer. Seller is to pay Seller's closing
              costs. _____________________________________________________________________________________________________
              ___________________________________________________________________________________________________________
              Should Buyer be entitled to a credit at Closing for repairs pursuant to Paragraph 16 of this Real Estate Contract, the amount of such
              credit shall be reflected on the settlement statement(s). Buyer and Seller warrant all funds received by Buyer from Seller (or other
              sources) will be disclosed to the Closing Agent(s) and reflected on the settlement statement(s).
         6. APPLICATION FOR FINANCING: If applicable, Buyer agrees to make a complete application for new loan or for loan assumption
              within five (5) business days from the acceptance date of this Real Estate Contract. In order to make a complete application as
              required by this Paragraph 6, Buyer agrees to provide creditor with any requested information and pay for any credit report(s) and
              appraisal(s) required upon request. Unless otherwise specified, if said loan is not consummated or assumed, Buyer agrees to pay for
              loan costs incurred, including appraisal(s) and credit report(s), unless failure to consummate is solely the result of Seller's breach of
              this Real Estate Contract, in which case such expenses will be paid by Seller. Buyer understands failure to make a complete loan
              application as defined above may constitute a breach of this Real Estate Contract.
         7. EARNEST MONEY:
                      A. Yes, see Earnest Money Addendum.
                ✖ B. No.

         8. NON-REFUNDABLE DEPOSIT: The Non-Refundable Deposit (hereinafter referred to as the "Deposit") is funds tendered by
              Buyer to Seller to compensate Seller for liquidated damages that may be incurred by Seller resulting from Buyer failing to close on this
              Real Estate Contract. The liquidated damages shall include, but not be limited to, Seller's time, efforts, expenses and potential loss of
              marketing due to Seller's removal of Property from market. The Deposit is not refundable to Buyer unless failure to close is exclusively
              the fault of Seller or if Seller cannot deliver marketable title to the Property. The Deposit will be credited to Buyer at Closing. Buyer
              shall hold Listing Firm and Selling Firm harmless of any dispute regarding Deposit. Buyer expressly acknowledges The Deposit is not
              to be held by either Listing Firm or Selling Firm. The Deposit may be commingled with other monies of Seller, such sum not being held
              in an escrow, trust or similar account.


             ✖ A. The Deposit is not applicable.
                          If Buyer is obtaining Government Financing (FHA, VA or other) Deposit is not applicable.
                  B. Buyer will pay to Seller the Deposit in the amount of $_______________

                          i. Within ___________ days following the date this Real Estate Contract has been signed by Buyer and Seller; or

                          ii. Within three (3) business days following agreement to repairs on Inspection, Repair & Survey Addendum; or

                          iii. Other:___________________________________________________________________________

         9. CONVEYANCE: Unless otherwise specified, conveyance of the Property shall be made to Buyer by general warranty
            deed, in fee simple absolute, except it shall be subject to recorded instruments and easements, if any, which do not
            materially affect the value of the Property. Unless expressly reserved herein, SUCH CONVEYANCE SHALL INCLUDE
            ALL MINERAL RIGHTS OWNED BY SELLER CONCERNING AND LOCATED ON THE PROPERTY, IF ANY,
            UNLESS OTHERWISE SPECIFIED IN PARAGRAPH 30. IT IS THE RESPONSIBILITY OF THE BUYER TO
            INDEPENDENTLY VERIFY AND INVESTIGATE THE EXISTENCE OR NONEXISTENCE OF MINERAL RIGHTS AND
            ANY LEGAL RAMIFICATIONS THEREOF. Seller warrants and represents only signatures set forth below are required
            to transfer legal title to the Property. Seller also warrants and represents Seller has peaceable possession of the
            Property, including all improvements and fixtures thereon, and the legal authority and capacity to convey the Property
            by a good and sufficient general warranty deed free from any liens, leaseholds or other interests.

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         Real Estate Contract                                                                                                                                  Copyright
                                                                                                                                                                 2021
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         10. TITLE REQUIREMENTS: Buyer and Seller understand Listing Firm and Selling Firm are not licensed title insurance
                 agents as defined by Arkansas law and do not and cannot receive direct or indirect compensation from any Closing Agent
                 regarding the closing process or the possible purchase of title insurance by one or more of Buyer and Seller. An enhanced
                 version of title insurance coverage may be available to Buyer for this transaction. Discuss enhanced title insurance
                 coverage with your title insurance provider to determine availability and features.
                      A. Seller shall furnish, at Seller's cost, a complete abstract reflecting merchantable title to Buyer or Buyer's Attorney.
                 ✖ B. Seller shall furnish, at Seller's cost, an owner's policy of title insurance in the amount of the Purchase Price. If a
                      loan is secured for the purchase of the Property, Buyer agrees to pay mortgagee's portion of title policy. If Buyer
                      elects to obtain enhanced title insurance coverage, Buyer shall pay for the increase in title insurance cost in excess
                      of the cost of a standard owner's title policy.
                      C. Provided Buyer and Seller choose to close at the same Title Company, Buyer and Seller shall equally split the cost
                         of a combination owner's and mortgagee's policy of title insurance, either standard or enhanced (if enhanced
                         coverage is desired by Buyer and available), in the amount of (as to owner's) the Purchase Price and (as to
                         mortgagee's) the loan amount (not to exceed the Purchase Price).
                 D. Other:_____________________________________________________________________________________
          Buyer shall have the right to review and approve a commitment to provide title insurance prior to Closing. If objections are
          made to Title, Seller shall have a reasonable time to cure the objections. Regardless of the policy chosen, Buyer and Seller
          shall have the right to choose their Closing Agent(s).
         11. SURVEY: Buyer has been given the opportunity to obtain a new certified survey. Should Buyer decline to obtain a
             survey as offered in Paragraph 11A of this Real Estate Contract, Buyer agrees to hold Seller, Listing Firm and Selling
             Firm involved in this Real Estate Contract harmless of any problems relative to any survey discrepancies that may exist
             or be discovered (or occur) after Closing.
                 ✖ A. A new survey satisfactory to Buyer, certified to Buyer within thirty (30) days prior to Closing by a registered land
                      surveyor, showing all improvements, easements and any encroachments will be provided and paid for by:

                                                                               Buyer               Seller ✖ Equally split between Buyer and Seller.

                       B. No survey shall be provided.
                       C. Other:______________________________________________________________________________
           Should Buyer agree to accept the most recent survey provided by Seller, this survey is for information
           purposes only and Buyer will not be entitled to the legal benefits of a survey certified in Buyer's name.
         12. PRORATIONS: Taxes and special assessments due on or before Closing shall be paid by Seller. Any deposits on
             rental Property are to be transferred to Buyer at Closing. Insurance, general taxes, special assessments, rental
             payments and interest on any assumed loan shall be prorated as of Closing, unless otherwise specified herein. Buyer
             and Seller agree to prorate general ad valorem taxes based on the best information available at Closing. Buyer and
             Seller agree to hold any Closing Agent(s) selected by Buyer and Seller, Listing Firm and Selling Firm harmless for error
             in such tax proration computation caused by unknown facts or erroneous information (or uncertainty) regarding the
             Homestead Tax Exemption adopted by the voters of the State of Arkansas in the Year 2000, as amended from time to
             time.
         13. FIXTURES AND ATTACHED EQUIPMENT: Unless specifically excluded herein all fixtures and attached equipment,
             if any, are included in the Purchase Price. Such fixtures and attached equipment shall include but not be limited to the
             following: dishwasher, disposal, trash compactor, ranges, ovens, water heaters, exhaust fans, heating and air
             conditioning systems, plumbing and septic systems, electrical system, intercom system, ceiling fans, window air
             conditioners, carpeting, indoor and outdoor light fixtures, window and door coverings and related hardware, gas or
             electric grills, awnings, mail boxes, garage door openers and remote controls, antennas, fireplace inserts, __________
             ______________________________________________________________________________________________
             and any items bolted, nailed, screwed, buried or otherwise attached to the Property in a permanent manner. Television
             satellite receiver dish, cable wiring, water softeners, and propane and butane tanks also remain, if owned by Seller.
             Buyer is aware the following items are not owned by Seller or do not convey with the Property: ____________
             ______________________________________________________________________________________________.
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         14. OTHER CONTINGENCY:
             ✖ A. No Other Contingency. (Except for those conditions listed elsewhere in this Real Estate Contract.) It is understood and
                           agreed Seller has the right to enter into subordinate Real Estate Contracts and other Real Estate Contracts shall not
                           affect this Real Estate Contract.
                        B. This Real Estate Contract is contingent upon:
                              ___________________________________________________________________________________
                              ___________________________________________________________________________________
                              ___________________________________________________________________________________
                              on or before (month)_________________ (day)_______, (year)____________.
                              During the term of this Real Estate Contract (Select one):
                                   (i) Binding with Escape Clause: Seller has the right to continue to show the Property and solicit and enter into
                                       another Real Estate Contract on this Property. However, all Real Estate Contracts shall be subject to
                                       termination of this Real Estate Contract. Should Seller elect to provide written notice of an additional Real
                                       Estate Contract being accepted by Seller, Seller shall utilize the "Seller's Contingency Notice Addendum" (the
                                       "Notice") and Buyer shall have _________ hours to remove this contingency. Buyer shall be deemed in receipt
                                       of the Notice upon the earlier of (a) actual receipt of the Notice, or (b) five (5) business days after Seller or Listing
                                       Firm deposits the Notice in the United States mail, certified for delivery to Buyer at _________________
                                       ______________________________ with sufficient postage to ensure delivery. Removal of this contingency shall
                                       occur only by delivery of Notice, in a manner ensuring actual receipt, to Seller or Listing Firm. Time is of the
                                       essence. In the event Buyer removes the contingency and does not perform on this Real Estate Contract for any
                                       reason concerning this contingency, Seller may assert all legal or equitable rights that may exist as a result of Buyer
                                       breaching this Real Estate Contract. Alternatively, Seller at his sole and exclusive option, may retain the Earnest
                                       Money, as liquidated damages. If this contingency is removed, a Closing date shall be agreed upon by the parties.
                                       If a Closing date is not agreed upon, Closing shall occur _________ calendar days from removal. Should Buyer
                                       not remove this contingency as specified, this Real Estate Contract shall be terminated with Buyer and Seller both
                                       agreeing to sign a Termination of Contract Addendum with Buyer to recover Earnest Money. All time constraints
                                       in this Real Estate Contract referred to in Paragraphs 6, 16B, 17, 18 19B, 20B, and 21 refer to the time Buyer
                                       removes the contingency.
                                   (ii) Binding without Escape Clause: It is understood and agreed Seller has the right to enter into subordinate
                                        Real Estate Contracts and any subordinate Real Estate Contracts entered into by Seller shall not affect this Real
                                        Estate Contract.
         15. HOME-WARRANTY PLANS: Buyer has been given the opportunity to obtain a Home Warranty Plan. The Home Warranty
                 contract covers unexpected mechanical failures due to wear and tear and is subject to a per-claim deductible and the specific
                 terms of the Home Warranty Contract:
                   ✖ A. No Home Warranty provided.
                     B. A one-year limited Home Warranty Plan provided by ___________________________________________________
                        Company, ___________________________________________________________________________________
                        __________________plan paid for by ___________________________________________ at a cost not to exceed
                        $_______________ plus sales tax.
                     C. A one year limited Home Warranty Plan provided by a Home Warranty Company, and specific plan coverage selected
                        by Buyer prior to closing. Plan paid for by ____________________________________________________________
                        ______________________________________________ at a cost not to exceed $_______________ plus sales tax.
                          D. Other: ________________________________________________________________________________________

         If a Home Warranty Plan is selected the contract will not imply any warranty by Seller after Closing. Coverages vary and the
         coverage received is solely set forth in the home-warranty documents between Buyer and Home Warranty Company, and no
         representation or explanation will be provided by Seller, Selling Firm or Listing Firm, Buyer being solely responsible to determine
         the extent and availability of coverage. Listing Firm and/or Selling Firm may receive compensation from the warranty company.

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         FORM SERIAL NUMBER:088403-600162-8869888
        16. INSPECTION AND REPAIRS:
                      A. Subject to Paragraph 25, the sale of the Property, in its condition as existing on the date Buyer signed this Real
                         Estate Contract, shall take place on an "AS IS, WHERE IS, WITH ALL FAULTS BASIS" and Buyer acknowledges
                         and agrees to voluntarily waive and decline any right to further inspect or require repair of the Property. An
                         example are the rights declined and waived by Buyer in Paragraph 16B of this Real Estate Contract.


               ✖ B. Buyer shall have the right, at Buyer's expense, with the cooperation of Seller, to inspect the electrical, mechanical,
                    plumbing, environmental conditions, appliances, and all improvements, structure(s) and components on or about
                    the Property (collectively the “Inspection Items”) within TEN (10) BUSINESS DAYS after the date this Real Estate
                    Contract is accepted. Seller, Listing Firm and Selling Firm recommend Buyer use a representative(s) chosen by
                    Buyer to inspect Inspection Items. Buyer is not relying on Listing Firm or Selling Firm to choose a
                    representative to inspect or re-inspect Inspection Items; Buyer understands any representative desired
                    by Buyer may inspect or re-inspect Inspection Items. Buyer shall neither make nor cause to be made, unless
                    authorized by Seller in writing, any invasive or destructive Buyer inspections or investigations. Seller agrees to
                    have all utilities connected and turned on to Property to allow Buyer to inspect and re-inspect Inspection Items. If
                    Property being purchased is not new, Buyer acknowledges Inspection Items may not be new. Buyer does not
                    expect Inspection Items to be like new and recognizes ordinary wear and tear to Inspection Items is normal. For
                    the purpose of this Paragraph 16B, “normal working order” means that Inspection Items function for the purpose
                    for which they are intended. The fact any or all Inspection Items may cease to be in normal working order, be
                    discovered or occur, after Closing, shall not require repair by Seller, or provide legal or other liability to Seller,
                    Listing Firm or Selling Firm.

         If Buyer elected to inspect the Inspection Items, Buyer shall deliver an Inspection, Repair and Survey Addendum to Seller
         or Listing Firm within the allotted ten (10) business day period so the Inspection, Repair, and Survey Addendum is actually
         received by Seller or Listing Firm within the allotted (10) business day period, stating inspections have been performed
         and listing all items Buyer requests the Seller to repair or stating no repairs are requested. If Buyer is not satisfied with a
         personal or professional inspection and elects to terminate this Real Estate Contract, both Buyer and Seller agree to sign
         a Termination of Contract Addendum with Buyer to recover Earnest Money. If Buyer requests repairs, Seller shall have
         (5) business days to respond to the Buyer’s repair request. If Seller does not respond within the allotted (5) business days,
         Buyer may elect to: (1) accept Property in its condition at Closing, or (2) terminate this Real Estate Contract and recover
         Earnest Money and both Buyer and Seller agree to sign a Termination of Contract Addendum.

         If Buyer and Seller are not able to negotiate requested repairs, Buyer and Seller agree this Real Estate Contract is
         terminated and further agree to sign a Termination of Contract Addendum. IN THE EVENT BUYER DOES NOT MAKE
         THE NECESSARY REQUIRED INSPECTIONS OR DOES NOT PRESENT THE INSPECTION, REPAIR AND SURVEY
         ADDENDUM TO SELLER OR LISTING FIRM IN THE ALLOTTED TEN (10) BUSINESS DAY TIME PERIOD, BUYER
         WAIVES ALL RIGHTS TO A RE-INSPECTION AND ASSUMES COMPLETE RESPONSIBILITY FOR ANY AND ALL
         FUTURE REPAIRS AND THE CONDITION OF THE PROPERTY.

         If Buyer timely inspected Property and Seller received the Inspection, Repair and Survey Addendum within the time period
         set forth above, Buyer shall have the right to re-inspect all Inspection Items immediately prior to Closing to ascertain
         whether Inspection Items are in normal working order and to determine whether all requested and accepted repairs have
         been made. If Inspection Items are found not to be in normal working order upon re-inspection, Buyer may elect to: (1)
         accept Property in its condition at Closing, or (2) terminate this Real Estate Contract and recover the Earnest Money and,
         in the event termination is elected, both Buyer and Seller agree to sign a Termination of Contract Addendum.

         If Buyer closes on Property believing conditions exist at Property that require repair as allowed by this Paragraph 16B,
         Buyer waives all right to assert a claim against Seller, Selling Firm or Listing Firm concerning the condition of Property.
         Buyer understands and agrees that, pursuant to the terms of Paragraph 16B, Buyer will be accepting Property at Closing
         “AS IS, WHERE IS AND WITH ALL FAULTS”.

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           Prepared by: Christopher Wilson | C21 REAL ESTATE UNLIMITED | chriswilsonc21@gmail.com | 5018434473

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                          Case 21-60198                             Doc 23-1                      Filed 08/20/21 Entered 08/20/21 14:15:13   Desc Exhibit
                                                                                                     Exhibit A Page 9 of 15
         Real Estate Contract                                                                                                                         Copyright
                                                                                                                                                        2021
         (Residential)                                                                                                                                Arkansas
                                                                                                                                                     REALTORS®
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         FORM SERIAL NUMBER:088403-600162-8869888
         17. THIRD PARTY REQUIREMENTS:
             Any requirements for repair by FHA, VA, USDA-RD, the creditor, termite control company or other "third party"
             requirements shall be delivered to Seller promptly upon receipt by Buyer. Seller shall have five (5) business days
             to respond to "Third Party" requirements upon receipt or Buyer may (1) accept the property in its condition at
             Closing as well as the responsibility for the completion of "Third Party" requirements, or (2) terminate this Real
             Estate Contract and recover the Earnest Money with Buyer and Seller agreeing to sign the Termination of Contract
             Addendum. If Buyer and Seller are unable to negotiate for the requested "Third Party" Requirements to be
             performed, this contract may be terminated with Buyer and Seller both agreeing to sign the Termination of
             Contract Addendum.
             Buyer shall have the right to re-inspect all "Third Party" Requirements immediately prior to closing to ascertain
             whether "Third Party" Requirements have been made. If Buyer finds "Third Party" Requirements have not been
             made, Buyer may (1) accept the property in its condition at Closing as well as the responsibility for the completion
             of "Third Party" Requirements, or (2) terminate this contract and recover the Earnest Money with Buyer and Seller
             both agreeing to sign the Termination of Contract Addendum

         18. SELLER PROPERTY DISCLOSURE:
                         A. Buyer and Seller acknowledge that upon the authorization of Seller, either Selling Firm or Listing Firm have
                            delivered to Buyer, prior to the execution of this Real Estate Contract, a written disclosure prepared by Seller
                            concerning the condition of the Property, but this fact neither limits nor restricts Buyer's Disclaimer of Reliance
                            set forth in Paragraph 29 of this Real Estate Contract, nor the rights provided Buyer in Paragraph 16. The
                            written disclosure prepared by Seller is dated (month) ______________ (day) _______, (year) ______,
                            and is warranted by Seller to be the latest disclosure and the answers contained in the disclosure are
                            warranted to be true, correct, and complete to Seller's knowledge.
                  ✖ B. Buyer hereby requests Seller to provide a written disclosure about the condition of the Property that is true
                               and correct to Seller's knowledge within three (3) business days, after this Real Estate Contract has been
                               signed by Buyer and Seller. If Seller does not provide the disclosure within the three (3) business days,
                               Buyer may declare this Real Estate Contract terminated with Buyer and Seller both agreeing to sign the
                               Termination of Contract, with Buyer to receive a refund of the Earnest Money. If Buyer finds the disclosure
                               unacceptable within three (3) business days after receipt of disclosure, this Real Estate Contract may be
                               declared terminated by Buyer, with Buyer and Seller both agreeing to sign the Termination of Contract with
                               Buyer to receive a refund of the Earnest Money. Receipt of this disclosure neither limits nor restricts in any
                               way Buyer's Disclaimer of Reliance set forth in Paragraph 29 of this Real Estate Contract, nor the rights
                               provided to Buyer in Paragraph 16.
                         C. Although a disclosure form may have been completed (or can be completed) by Seller, Buyer has neither
                            received nor requested and does not desire from Seller a written disclosure concerning the condition of the
                            Property prior to the execution of this Real Estate Contract, but this fact neither limits nor restricts in any way
                            Buyer's Disclaimer of Reliance set forth in Paragraph 29 of this Real Estate Contract. BUYER IS STRONGLY
                            URGED BY SELLING FIRM AND LISTING FIRM TO MAKE ALL INDEPENDENT INSPECTIONS DEEMED
                            NECESSARY PRIOR TO SIGNING THIS REAL ESTATE CONTRACT, IN ADDITION TO THOSE
                            INSPECTIONS PERMITTED BY PARAGRAPH 16B OF THIS REAL ESTATE CONTRACT.

                         D. Buyer understands no disclosure form is available and will not be provided by Seller. This fact neither
                            limits nor restricts in any way the Buyer’s Disclaimer of Reliance set forth in Paragraph 29 of this Real
                            Estate Contract. BUYER IS STRONGLY URGED BY SELLING FIRM AND THE LISTING FIRM TO
                            MAKE ALL INDEPENDENT INSPECTIONS DEEMED NECESSARY PRIOR TO SIGNING THIS REAL
                            ESTATE CONTRACT, IN ADDITION TO THOSE INSPECTIONS PERMITTED BY PARAGRAPH 16B
                            OF THIS REAL ESTATE CONTRACT.


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         Real Estate Contract                                                                                                                         Copyright
                                                                                                                                                        2021
         (Residential)                                                                                                                                Arkansas
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         FORM SERIAL NUMBER: 088403-600162-8869888
           19. TERMITE CONTROL REQUIREMENTS:
                A. None
                 ✖ B. A Letter of Clearance (Wood Infestation Report) requiring a Termite Protection Contract with a One-
                              Year (1) Warranty to include treatment if allowed by applicable law and the Arkansas State Plant Board
                              and full protection plan shall be provided by Seller at Seller's cost at Closing. Seller shall order a
                              proposal from a licensed Termite Contractor within ten (10) business days after acceptance of this Real
                              Estate Contract. All repairs necessary to allow issuance of such Termite Protection Contract, excluding
                              a new Termite Protection Treatment, are to be part of the Third-Party Requirements pursuant to
                              Paragraph 17. If Buyer is obtaining financing, such Termite Protection Contract shall be in a form
                              acceptable to the creditor and Buyer.
                       C. Other: ___________________________________________________________________________
         20. LEAD-BASED PAINT RISK ASSESSMENT/INSPECTION:
                 ✖ A. Buyer understands and agrees that, according to the best information available, improvements on this
                       Property were not constructed prior to 1978 and should not contain lead-based paint hazards.
                       B. Buyer has been informed that the Property, including without limitation garages, tool sheds, other
                       outbuildings, fences, signs and mechanical equipment on the Property that were constructed prior to 1978,
                       may contain lead-based paint. Seller will provide the Lead-Based Paint Disclosure (pre-1978 construction)
                       within three (3) business days after acceptance of this Real Estate Contract. The obligation of Buyer under
                       this Real Estate Contract is contingent upon Buyer's acceptance of the Lead-Based Paint Disclosure
                       provided by Seller and an Inspection and/or Risk Assessment of the Property for the presence of lead-
                       based paint and/or lead-based paint hazards obtained at Buyer's expense. If Buyer finds either the Lead-
                       Based Paint Disclosure or the Inspection and/or Risk Assessment unsatisfactory, in the sole discretion of
                       Buyer, within ten (10) calendar days after receipt by Buyer of the Lead-Based Paint Disclosure, Buyer shall
                       have the absolute option to unilaterally terminate this Real Estate Contract with Earnest Money returned to
                       Buyer and, with neither Buyer nor Seller having further obligation to the other thereafter. Buyer shall submit
                       any request for abatement repairs in writing as part of the Third-Party Requirements specified in Paragraph
                       17 of the Real Estate Contract. Buyer may remove this contingency and waive the unilateral termination
                       right at any time without cause by written General Addendum signed by Buyer and delivered to Seller. If
                       Buyer does not deliver to Seller or Listing Firm a Termination of Real Estate Contract Addendum terminating
                       this Real Estate Contract within the ten (10) calendar days after receipt by Buyer of the Lead-Based Paint
                       Disclosure, this contingency shall be deemed waived and Buyer's performance under this Real Estate
                       Contract shall thereafter not be conditioned on Buyer's satisfaction with the Lead-Based Paint Inspection
                       and/or Risk Assessment of the Property.

                                                           Buyer has been advised of Buyer's rights under this Paragraph 20.

         21. INSURANCE: This Real Estate Contract is conditioned upon Buyer's ability to obtain homeowner/hazard
         insurance for the Property within ten (10) business days after the acceptance date of this Real Estate Contract. If
         Buyer does not deliver to Seller or Listing Firm a written notice from an insurance company within the time set forth
         above of Buyer's inability to obtain homeowner/hazard insurance on the Property, this condition shall be deemed
         waived (but without waiver of conditions, if any, set in Paragraph 3) and Buyer's performance under this Real Estate
         Contract shall thereafter not be conditioned upon Buyer's obtaining insurance. If Buyer has complied with the terms
         of this Paragraph 21 and has timely provided written notice to Seller of Buyer's inability to obtain such insurance, this
         Real Estate Contract shall be terminated, with Buyer and Seller agreeing to sign a Termination of Contract Addendum
         and Earnest Money returned to Buyer, subject to Earnest Money Addendum.




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         Real Estate Contract                                                                                                                         Copyright
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         FORM SERIAL NUMBER: 088403-600162-8869888
         22. CLOSING: Closing is the date and time at which Seller delivers the executed and acknowledged deed and Buyer's completion,
                 signing and delivery to Seller (or Closing Agent agreed to by Buyer & Seller) of all loan, closing documents and Purchase Price
                 funds required to be executed or delivered by Buyer (the "Closing"). Buyer and Seller agree the Closing date will be (month)
                       September
                 _____________________                 10
                                              (day) _______,             2021
                                                              (year) ___________.    The Closing date may be changed by written agreement of
                 Buyer and Seller. If the sale is not consummated by the Closing date, (or any written extension thereof), the parties shall have
                 the remedies available to them in equity or at law, including the remedies available to them in Earnest Money Addendum.
                 Buyer and Seller shall have the right to choose their Closing Agent(s) and are not relying on Listing Firm or Selling Firm to
                 choose a Closing Agent. Should Buyer or Seller choose the services of a Closing Agent(s) other than Selling Firm or Listing
                 Firm, then Buyer and Seller each jointly and severally agree to indemnify and hold Listing Firm and Selling Firm harmless for
                 all intentional misconduct and negligent acts (including acts of omission) of the Closing Agent(s).
                 This Real Estate Contract shall serve as written closing instructions to the Closing Agent on behalf of the Buyer and
                 Seller. The Closing Agent(s) is/are authorized to provide Seller's closing disclosure or other settlement statement(s)
                 to Listing Firm (in addition to Seller) and Buyer's closing disclosure or other settlement statement(s) to Selling Firm
                 (in addition to Buyer) so Buyer, Seller, Listing Firm and Selling Firm shall have a reasonable opportunity to review
                 prior to Closing.
                 Buyer and Seller shall each have the right to request title insurer(s), if any, issue closing protection to indemnify against loss of
                 closing funds because of acts of a Closing Agent, title insurer's named employee, or title insurance agent. Any cost for closing
                 protection will be paid by the requesting party(ies). Listing Firm and Selling Firm strongly advise Buyer and Seller to inquire of
                 the Closing Agent(s) about the availability and benefits of closing protection.
                 This Real Estate Contract shall, unless otherwise specified in Paragraph 30 of this Real Estate Contract, constitute express
                 written permission and authorization to Listing Firm and Selling Firm to disclose the terms of this Real Estate Contract (and all
                 Addenda), including without limitation concessions provided by Buyer or Seller or other non-public personal information of
                 Buyer and Seller regarding the purchase and sale of the Property, to any of the following: (i) an Arkansas licensed appraiser;
                 (ii) multiple listing services for use by the members thereof; and (iii) any other person or entity which Listing Firm or Selling
                 Firm determines, using sole discretion, may have a legitimate basis to request and obtain such information. The authorization
                 and permissions granted in this Paragraph 22 shall not create any obligation or duty upon Listing Firm or Selling Firm to make
                 any disclosure to any person or entity.
         23. POSSESSION: Possession of the Property shall be delivered to Buyer:
              ✖ A. Upon the Closing.

                     B. Delayed Possession. (See Delayed Occupancy Addendum attached)
                     C. Prior to Closing. (See Early Occupancy Addendum attached)

         24. ASSIGNMENT: This Real Estate Contract may not be assigned by Buyer unless written consent of Seller is obtained, such
                 consent not to be unreasonably withheld. It shall not be unreasonable for Seller to withhold consent if Seller is to provide
                 financing for Buyer in any amount.
         25. RISK OF LOSS: Risk of loss or damage to the Property by fire or other casualty occurring prior to the time Seller delivers an
                 executed and acknowledged deed to Buyer is expressly assumed by Seller. Should the Property be damaged or destroyed
                 prior to Closing, Buyer shall have the option to: (i) enter into a separate written agreement with Seller whereby Seller will agree
                 to restore the Property to its condition at the time this Real Estate Contract was accepted, (ii) accept all insurance proceeds
                 related to the Property fire loss or other casualty loss and receive the Property in its existing condition, or (iii) terminate this Real
                 Estate Contract and recover the Earnest Money. Buyer and Seller agree any written agreement concerning option (i) or (ii)
                 above shall be prepared only by licensed attorneys representing Buyer and Seller. If Buyer elects option (ii) above, Buyer shall
                 be entitled to credit for the insurance proceeds up to the Purchase Price, and any insurance proceeds received by Seller over
                 and above the Purchase Price shall be tendered to Seller at Closing. Notwithstanding the choice selected in Paragraph 16,
                 Buyer shall have the right prior to Closing to inspect the Property to ascertain any damage that may have occurred due to fire,
                 flood, hail, windstorm or other acts of nature, vandalism or theft.
         26. GOVERNING LAW: This Real Estate Contract shall be governed by the laws of the State of Arkansas.
         27. SEVERABILITY: The invalidity or unenforceability of any provisions of this Agreement shall not affect the validity or enforceability
                 of any other provision of the Agreement, which shall remain in full force and effect.


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                          Case 21-60198                             Doc 23-1                      Filed 08/20/21 Entered 08/20/21 14:15:13             Desc Exhibit
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         Real Estate Contract                                                                                                                                        2021
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         FORM SERIAL NUMBER:088403-600162-8869888
         28. MERGER CLAUSE: This Real Estate Contract, when executed by both Buyer and Seller, shall contain the entire understanding
             and agreement between Buyer and Seller with respect to all matters referred to herein and shall supersede all prior or
             contemporaneous agreements, representations, discussions and understandings, oral or written, with respect to such matters.
             This Real Estate Contract shall not supersede any agency agreements entered into by Buyer or Seller and Listing Firm or Selling
             Firm.
         29. BUYER'S DISCLAIMER OF RELIANCE:
             A. BUYER CERTIFIES BUYER WILL PERSONALLY INSPECT OR HAVE A REPRESENTATIVE INSPECT THE PROPERTY AS FULLY AS DESIRED
                PRIOR TO CLOSING. BUYER CERTIFIES BUYER HAS NOT AND WILL NOT RELY ON ANY WARRANTIES, REPRESENTATIONS, OR
                STATEMENTS OF SELLER, LISTING FIRM, SELLING FIRM, OR ANY AGENT, INDEPENDENT CONTRACTOR, OR EMPLOYEE ASSOCIATED WITH
                THOSE ENTITIES, OR INFORMATION FROM MULTIPLE LISTING SERVICES OR OTHER WEBSITES REGARDING MINERAL RIGHTS, YEAR
                BUILT, SIZE (INCLUDING WITHOUT LIMITATION THE SQUARE FEET IN IMPROVEMENTS LOCATED ON THE PROPERTY), QUALITY, VALUE
                OR CONDITION OF THE PROPERTY, INCLUDING WITHOUT LIMITATION ALL IMPROVEMENTS, APPLIANCES, PLUMBING, ELECTRICAL OR
                MECHANICAL SYSTEMS. HOWEVER, BUYER MAY RELY UPON ANY WRITTEN DISCLOSURES PROVIDED BY SELLER.
                LISTING FIRM AND SELLING FIRM CANNOT GIVE LEGAL ADVICE TO BUYER OR SELLER. LISTING FIRM AND SELLING FIRM STRONGLY
                URGE STATUS OF TITLE TO THE PROPERTY, COVENANTS, DEED RESTRICTIONS, CONDITION OF PROPERTY, MINERAL RIGHTS, AND
                SQUARE FOOTAGE OF IMPROVEMENTS, QUESTIONS OF SURVEY AND ALL OTHER REQUIREMENTS OF BUYER SHOULD EACH BE
                INDEPENDENTLY VERIFIED AND INVESTIGATED BY BUYER OR A REPRESENTATIVE CHOSEN BY BUYER.
             B. BUYER AGREES TO SIGN PAGE 4 OF THE INSPECTION, REPAIR AND SURVEY ADDENDUM PRIOR TO CLOSING IF BUYER ACCEPTS THE
                CONDITION OF THE PROPERTY AND INTENDS TO CLOSE.
         30. OTHER:____________________________________________________________________________________________
                 ___________________________________________________________________________________________________
                 ___________________________________________________________________________________________________
                 ___________________________________________________________________________________________________
                 ___________________________________________________________________________________________________

         31. TIME: Buyer and Seller agree time is of the essence with regard to all times and dates set forth in the Real Estate Contract.
             Unless otherwise specified, days as it appears in the Real Estate Contract shall mean calendar days. Further, all times and
             dates set forth in the Real Estate Contract refer to Arkansas Central time and date.
         32. ATTORNEY'S FEES: Should Buyer or Seller initiate any type of administrative proceeding, arbitration, mediation or litigation
             against the other (or against an agent for the initiating party or agent for the non-initiating party), it is agreed by Buyer and
             Seller (aforementioned agents being third-party beneficiaries of this Paragraph 32) that all prevailing party (or parties if more
             than one) shall be entitled to an award of all costs and attorney's fees incurred in prosecution or defense of such action
             against the non-prevailing party (or parties if more than one).

         33. COUNTERPARTS: This Real Estate Contract may be executed in multiple counterparts each of which shall be regarded
             as an original hereof but all of which together shall constitute one in the same. Electronic signatures shall be deemed original
             signatures and shall be binding upon the parties.

         34. FIRPTA COMPLIANCE, TAX REPORTING: Buyer and Seller agree to disclose on or before Closing, to the person or company
              acting as Closing Agent for this transaction, their United States citizenship status, solely for the purpose of compliance with
              the Foreign Investment in Real Property Taxation Act (FIRPTA). In addition, Buyer and Seller shall execute all documents
              required by such Closing Agent to document compliance with the FIRPTA and all other applicable laws. Buyer and Seller
              agree nothing in this Real Estate Contract is intended to limit the responsibility of the Closing Agent as defined pursuant to
              United States Treasury Regulation 1.6045-4 to (i) be the "reporting person" under state and federal tax laws (including without
              limitation 26 USC Section 6045(e)), and (ii) file all necessary forms regarding the Closing, including without limitation form
              1099, 8288 or 8288A. By accepting the role as Closing Agent, this Agreement shall obligate the Closing Agent to fulfill their
              responsibilities as set forth above and as defined by the above statutes. Seller will execute an affidavit confirming compliance
              with FIRPTA, as prepared by the Closing Agent.

         35. LICENSEE DISCLOSURE: Check all that apply:
             ✖ A. Not Applicable.
                       B. One or more parties to this Real Estate Contract acting as a __ Buyer __ Seller hold a valid Arkansas Real Estate License.
                       C. One or more owners of any entity acting as                                     Buyer    Seller hold a valid Arkansas Real Estate License.

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                                                                                                    Exhibit A Page 13 of 15
                                                                                                                                                                Copyright
         Real Estate Contract                                                                                                                                     2021
         (Residential)                                                                                                                                          Arkansas
                                                                                                                                                               REALTORS®
         Page 12 of 12                                                                                                                                         Association
                                                                                                     August
         36. EXPIRATION: This Real Estate Contract expires if not accepted on or before (month) ________________
                    20                   2021              7:00
         (day) _____________, (year) _____________, at ______________ (a.m.)___  ✖ (p.m.).
         THIS IS A LEGALLY BINDING REAL ESTATE CONTRACT WHEN SIGNED BY THE PARTIES BELOW. READ IT CAREFULLY. YOU MAY EMPLOY AN ATTORNEY
         TO DRAFT THIS FORM FOR YOU. IF YOU DO NOT UNDERSTAND THE EFFECT OF ANY PART, CONSULT YOUR ATTORNEY BEFORE SIGNING. REAL ESTATE
         AGENTS CANNOT GIVE YOU LEGAL ADVICE. THE PARTIES SIGNED BELOW WAIVE THEIR RIGHT TO HAVE AN ATTORNEY DRAFT THIS FORM AND HAVE
         AUTHORIZED THE REAL ESTATE AGENT(S) TO FILL IN THE BLANKS ON THIS FORM.
                                                                             ®
         THIS FORM IS PRODUCED AND COPYRIGHTED BY THE ARKANSAS REALTORS ASSOCIATION. THE SERIAL NUMBER BELOW IS A UNIQUE NUMBER NOT
         USED ON ANY OTHER FORM. THE SERIAL NUMBER BELOW SHOULD BE AN ORIGINAL PRINTING, NOT MACHINE COPIED, OTHERWISE THE FORM MAY
         HAVE BEEN ALTERED. DO NOT SIGN THIS FORM IF IT WAS PREPARED AFTER DECEMBER 31, 2021.
                                                                                             FORM SERIAL NUMBER: 088403-600162-8869888
          The above Real Estate Contract is executed on
          (month) 8/13/2021 9:21 AM PDT
                  _________________     (day) ________, (year) ___________, at _________________ (a.m.)___ (p.m.).
                  Century 21 Real Estate Unlimited
          __________________________________________________________
          Selling Firm

          Signature:                 Holly Clark
                                    _____________________________________________                                 Signature:   Efrain Rodriguez
                                                                                                                               _____________________________________________


                                       Holly Clark
          Printed Name: _____________________________________________                                Efrain Rodriguez
                                                                           Printed Name: _____________________________________________
                                                                                               Buyer
                                                                    EB00061223
               Principal or Executive Broker (AREC License # _____________________________)
                                            hollyclarkc21@gmail.com
               (Broker email: _________________________________________________________)
          Signature:               Christopher Wilson
                                    _____________________________________________                                 Signature:   _____________________________________________

                                      Chris Wilson
          Printed Name: _____________________________________________   Printed Name: _____________________________________________
                                                                                            Buyer
                                                       SA00090168
               Selling Agent (AREC License # ___________________________________)
                                      chriswilsonc21@gmail.com
               (Agent email: __________________________________________________)
                                                  501-207-1704
               (Agent cell number: _____________________________________________)
          The above Real Estate Contract is executed on
          (month) _________________ (day) ________, (year) ___________, at _________________ (a.m.)___ (p.m.).
          __________________________________________________________
          Listing Firm

          Signature:                _____________________________________________                                 Signature:   _____________________________________________


          Printed Name: _____________________________________________      Printed Name: _____________________________________________
                                                                                               Seller
               Principal or Executive Broker (AREC License # _____________________________)
               (Broker email: _________________________________________________________)
          Signature:                _____________________________________________                                 Signature:   _____________________________________________


          Printed Name: _____________________________________________   Printed Name: _____________________________________________
                                                                                            Seller
               Listing Agent (AREC License # ___________________________________)
               (Agent email: __________________________________________________)
               (Agent cell number: _____________________________________________)
         The above offer was rejected                                                088403-600162-8869888
                                               counter-offered (Form Serial Number _________________________________)
            Buyer informed of Notification of Existing Real Estate Contract Addendum
          (Form Serial Number _______________________________________________)
                        08/16/2021 6:55 PM CDT
          on (month) ________________ (day) _______, (year) _____________, at ____________ (a.m.)___ (p.m.).
                                DC
                        ____________________________________
                                    Seller's Initials
                                                                                                                    ____________________________________
                                                                                                          Page 12 of 12         Seller's Initials
           Serial#: 088403-600162-8869888
           Prepared by: Christopher Wilson | C21 REAL ESTATE UNLIMITED | chriswilsonc21@gmail.com | 5018434473

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                                                        9c67f9fb-dc9b-44ac-998b-06e5d919e450] ]
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                                                        843d0703-5f15-4d90-ace9-0a1cb2977b58] ] ]
                                                        529f0686-954e-4f37-b8bf-9722b504c1ac
                                                        aa344343-3099-41ab-965e-b1c9b95de21b
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                                                              robertnjoyner@gmail.com




                        Century 21 Real Estate Unlimited                                                     8/17/2021 4:36 PM PDT


                                             Holly Clark                                                                   Efrain Rodriguez
                                              Holly Clark                                                                  Efrain Rodriguez


                                           Chris Wilson
                                              Chris Wilson




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                                                        843d0703-5f15-4d90-ace9-0a1cb2977b58] ] ]
                                                        529f0686-954e-4f37-b8bf-9722b504c1ac
                                                        aa344343-3099-41ab-965e-b1c9b95de21b
